 Case 2:09-cr-00932-JLL        Document 46        Filed 10/07/10     Page 1 of 1 PageID: 373




NOT FOR PUBLICATION

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
UNITED STATE OF AMERICA,             :
                                     :
                  Plaintiff,         :
      v.                             :  CRIM ACTION NO. 09-932 (JLL)
                                     :
ANTHONY SUAREZ and                   :
VINCENT TABBACHINO                   :  ORDER
                  Defendants.        :
____________________________________:

LINARES, District Judge.

       IT IS on this 5th day of October, 2010,

       ORDERED that the parties shall appear before the undersigned on October 8, 2010 at

9:30 AM for a hearing regarding text messages and FBI 302 reports; and it is further

       ORDERED that the government shall produce a witness or witnesses to opine on the

FBI’s procedures for (1) the preservation of text messages and (2) the drafting and preservation

of FBI 302 reports.

       SO ORDERED.


                                                            /s/ Jose L. Linares
                                                            United States District Judge
